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United States Bankruptcy Court far the:

WESTERN DISTRICT GF WASHINGTON ee
Case number (f known) 1, O r Oe 7 ef b Chanter you are fiting under:

Ei Chapter 7

 

TJ Chapter 11

EJ Chapter 12

C1 Chapter 13 (1 Check if this is an
: amended filing

Amandmont - fe {ol Did.

 

 

 

Official Form 101. Oo , . |
Voiuntary Petition for Individuals Filing for Bankruptcy “02/20

The bankruptcy forms use you and Debfor 4 to refer to a debtor filing alone. A married couple may file_a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns 4 car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2, The same person must be Debtor 7 in

all of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. If
more space |s needed, attach a separate Sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question. , - mo

fare Identify Yourseif

About Debtor 1: ”

 

- About Debtor 2 (Spouse Oniy in a Joint Case):
1. Your full name ) So : 2 a3

Write the name that is on John

 

 

 

 

 

 

your government-issued First name : Firstname
picture identification (for :
example, your-driver's Daniel
license.or passport).  * Middle name ‘ “i? Middle name
identification o your «= Mickelsen oe
Last name and Suffix (Sr., Jr., Il, Ill) Last name and Suffix (Sr., Jr., Il, Hl}

meeting with the frusiee.

 

2. Allother names you have
used in the last 8 years Johnny D. Mickeisen

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal OOCXK-8405
Individual Taxpayer
Identification number
(ITIN)

 

 

 

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Monday ~ Thursday 7:00AM to 9:00PM CT
- Friday 7:00AM -to 6:00PM CT
’ Saturday 8:00AM to 4:00PM CT

SouthwestCredit.
4120 International Pkwy, Suite 1100 —

Carrollton, TX 75007-1958
Toll Freat 888-778-4006 -

wi
Dear John Mickelsen, “

Your account has been assigned to this office for collection. The balance iste is due in
full. if payment tas already been made, please contact our office.

Unless you notify this office within 30 days after receiving this notice that you
dispute the validity of this debt or any portion thereof, this office will assume

this debt is valid. If you notify this office in writing: within 30 days from

_ receiving this notice that you dispute the validity of this debt or any portion
thereof, this office will obtain verification of the debt or obtain a.copy of a

* judgment and mail you a copy of such judgment or verification. If you request

this office in writing within 30 days after receiving this notice this office will

provide you with the name and address of ‘the original creditor, if different
from the current creditor.

Please contact our office if you would like assistance with this matter, You may pay your
account by enclosing your payment with the tear-off coupon below, as indicated in the
payment options or by contacting us at 888-778-4006 to make payment arrangements
on your account.

Check or Credit Card | payments can be rhade 24-hours a day, through our secure website
at www. swepayeniing.com.

M. Gasser
" Southwest Credit Systems, L. p,

 

Office Hours: |

March 28, 2020 |

Creditor
Comeast

 

 

Craditer Account No,
8498380210728810

 

Southwest Reference No.
80321858

 

Principal
$608.24
Total Amount Due
= $608.24 &

 

 

 

 

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and Check (ACH) accepted

 

 

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Visa, MasterCard, Debit Card
and Check (ACH) accepted =~

 

  

 

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Dallas, TX 75265-0784

 

 

 

 

 

 

  

 

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Case 20-40746-MJH Doc 19-1 Filed 09/09/20 Ent. 09/09/20 15:02:44 Pg. 3 of 3

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